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                          UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :
                                                :
           v.                                   : CASE NO. 21-MJ-90 (ZMF)
                                                :
 GINA BISIGNANO,                                :
      Defendant.                                :

                                                 NOTICE

       The United States of America makes this filing to notify the Court that the defendant reported

to the federal building in Los Angeles, California, where she was taken into the custody of the U.S.

Marshals, on the afternoon of January 20, 2021. It is the position of the government that the stay of

the order of release, signed by the Chief Judge of this Court on January 19, 2021, is still in effect.

Therefore, the defendant should remain held until the Chief Judge can review the government’s appeal

of the Magistrate Judge’s decision to release the defendant.

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                                       Respectfully submitted,

                                       MICHAEL SHERWIN
                                       ACTING UNITED STATES ATTORNEY

                                          /s/
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